DAVID BURCHARD
CHAPTER 13 TRUSTEE
P.O. BOX 8059
FOSTER CITY, CA 94404
(650) 345-7801 FAX (650) 345-1514
(707) 544-5500 FAX (707) 544-0475


                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF CALIFORNIA


   In re:                                                           Chapter 13
                                                                    Case No: 19-10519 DM
   CARLOS ORTIZ LOPEZ                                               Date:    December 3, 2019
   1100 ALBION PL                                                   Time:    01:10 PM
   SANTA ROSA, CA 95401                                             Ctrm:    99 South E Street
                                                                             Santa Rosa, CA 95404-6517
                                      Debtor(s)


                        MOTION OF CHAPTER 13 TRUSTEE, DAVID BURCHARD,
                           TO DISMISS CASE PRIOR TO CONFIRMATION

TO: THE ABOVE-NAMED DEBTOR(S) AND TO DEBTOR(S)’ ATTORNEY OF RECORD HEREIN:

The Chapter 13 Trustee, DAVID BURCHARD, moves the Court for an order, dismissing this case for cause(s) for
the reasons set forth below.

1. This Court has jurisdiction over this matter pursuant to Federal Rules of Bankruptcy Procedure 9013 and 9014,
and Bankruptcy Local Rules 9013-1 and 9014-1. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A).

2. This Motion is based upon all documents and records on file, together with this Motion, Declaration and any
such additional documents, records and evidence which may be presented.

3. Debtor(s) filed for bankruptcy under Chapter 13 on 07/16/2019.

4. This motion for dismissal is made for cause pursuant to:

11 U.S.C. § 1307(c)(1) as there is unreasonable delay that is prejudicial to creditors.

5. The cause to dismiss this case exists as it is in the best interests of creditors and the bankruptcy estate. The
Trustee therefore requests the Court enter an order dismissing this case.

If you wish to oppose dismissal of this Chapter 13 case, you or your attorney must file a timely opposition to this
motion no later than fourteen (14) days before the hearing set forth in the accompanying Notice of Motion. You
or your attorney must also appear at the hearing date listed in the notice and present argument in opposition to this
motion.

DATED:      October 21, 2019                                DAVID BURCHARD
                                                            DAVID BURCHARD, Chapter 13 Trustee




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                                   UNITED STATES BANKRUPTCY COURT
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   In re:
                                                                   Chapter 13
   CARLOS ORTIZ LOPEZ                                              Case No: 19-10519 DM
   1100 ALBION PL                                                  Date:    December 3, 2019
   SANTA ROSA, CA 95401                                            Time:    01:10 PM
                                                                   Ctrm:    99 South E Street
                                                                            Santa Rosa, CA 95404-6517
                                     Debtor(s)



                        DECLARATION IN SUPPORT OF CHAPTER 13 TRUSTEE,
                          DAVID BURCHARD’S, MOTION TO DISMISS CASE
                                  PRIOR TO CONFIRMATION



I am the custodian and/or keeper of the business records referenced herein and, as such, I am qualified to certify
the authenticity thereof. Additionally, I have personal knowledge of the matters stated in the Declaration. If
called upon as a witness, I could and would competently testify to the facts contained herein.
After reviewing the books, records and files of the above-referenced Debtor(s), I make the following
Declarations:

1. Debtor(s) filed the instant bankruptcy petition on 07/16/2019. There is unreasonable delay towards plan
confirmation that is prejudicial to creditors.

2. As of the date hereof, the following fact(s) exists as cause for dismissal:


                   Failure to make required payments to the Trustee. $ _____ is in default under Ch. 13 Plan.
                   Failure to attend Section 341 Meeting of Creditors scheduled on
            X      Failure to respond to Trustee’s requests – see attachment “A”.


       I declare under penalty of perjury that the foregoing is true and correct and that this Declaration was
executed on October 21, 2019 in Foster City, California.


Dated: October 21, 2019                                    DAVID BURCHARD
                                                           DAVID BURCHARD, Chapter 13 Trustee


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                                        CERTIFICATE OF SERVICE


I am over the age of 18 years and not a party to this action. I am employed by the Trustee whose business address
is 1065 E. Hillsdale Blvd., Suite #200, Foster City, CA. On the date set forth below, I served a true and correct
copy of the Motion of Chapter 13 Trustee, David Burchard, to Dismiss Case Prior to Confirmation, the
Declaration in Support of Chapter 13 Trustee, David Burchard’s Motion to Dismiss Case Prior to
Confirmation and this Certificate of Service, on the persons listed below by following our ordinary business
practice for service, which is either deposited in the ordinary course of business with the U.S. Postal Service by
first class mail or served by electronic transmission from the Court, if applicable. I declare under penalty of
perjury under the laws of the United States of America that the foregoing is true and correct.


         CARLOS ORTIZ LOPEZ
         1100 ALBION PL
         SANTA ROSA, CA 95401



The following recipients have been served via Court’s Notice of Electronic Filing:

         EVAN LIVINGSTONE
         evanmlivingstone@gmail.com




Dated:    October 21, 2019                            ROSA GARCIA
                                                      ROSA GARCIA




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                               UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF CALIFORNIA


In re:                                                     Case No.: 19-10519 DM
    CARLOS ORTIZ LOPEZ                                     Chapter 13
    1100 ALBION PL
    SANTA ROSA, CA 95401
                                                           ATTACHMENT “A”



                                  Debtor(s)




The Trustee made the following requests at least 30 days prior to the filing date of the instant motion :

1. Trustee is in receipt of an objection to confirmation of plan by creditor, Citibank, N.A., filed on
   August 8, 2019. Trustee requested that said objection to confirmation of plan be resolved prior to
   confirmation. The debtor has failed to resolve said objection.

2. Trustee is in receipt of an objection to confirmation of plan by creditor, Marlow Estates HOA, filed
   on September 9, 2019. Trustee requested that said objection to confirmation of plan be resolved
   prior to confirmation. The debtor has failed to resolve said objection.

3. The debtor’s plan was filed after the Notice of Bankruptcy was filed and has not been served on all
   creditors. Trustee requested the plan be served on all creditors with 28 days’ notice, and a
   certificate of service evidencing service of the plan be filed with the Court. The debtor has failed to
   file a certificate of service evidencing service of the plan.

4. The debtor’s plan reflects a non-delinquent claim to be paid directly in Section 3.10; however, the
   debtor has failed to include the collateral description. Trustee requested an amended plan which
   provides for the collateral description. The debtor has failed to file an amended plan.

5. Schedule D lists a debt to Cach LLC, which has been omitted from the debtor’s plan. Trustee
   requested an amended plan that provides for accurate treatment of all of the debtor’s secured debts.
   The debtor has failed to file an amended plan.

6. Schedule D lists a debt to Marlow Estates Owners Association, which has been omitted from the
   debtor’s plan. Trustee requested an amended plan that provides for accurate treatment of all of the
   debtor’s secured debts. The debtor has failed to file an amended plan.


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7. Schedule D lists a debt to Sonoma County Tax Collector, which has been omitted from the debtor’s
   plan. Trustee requested an amended plan that provides for accurate treatment of all of the debtor’s
   secured debts. The debtor has failed to file an amended plan.

8. Schedule A/B fails to reflect any interest in electronics and jewelry. Trustee requested an amended
   Schedule A/B which accurately lists all property in which the debtor has an interest in at the time of
   the filing of the petition. The debtor has failed to file an amended Schedule A/B.

9. Schedule I reflects income from rental and/or operation of a business; however, the debtor has not
   filed the required attachment to Schedule I that itemized gross income and expenses. Trustee
   requested an amended Schedule I with the required attachment. The debtor has failed to file the
   requested document.

10. Trustee requested an amended Schedule H to list debtor’s non-filing spouse’s information. The
    debtor has failed to file the requested document.




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